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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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  IN RE PAYMENT CARD INTERCHANGE FEE
  AND MERCHANT DISCOUNT ANTITRUST                                   REVISED ORDER
  LITIGATION                                                        APPOINTING SPECIAL
                                                                    MASTER
                                                                    05-MD-1720 (MKB)

  This document refers to: ALL ACTIONS
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  MARGO K. BRODIE, United States District Judge:

          The Court finds that appointment of a Special Master, pursuant to Rule 53 of the Federal

  Rules of Civil Procedure, is warranted. 1 A Special Master is hereby appointed to resolve any

  disputes or matters arising out of or relating to the Plan of Administration and Distribution, (ECF

  7257-2) (“Plan of Administration”) attached as Appendix I to the Settlement Agreement as well

  as any other matters the Court refers to the Special Master. Upon this appointment, the Special

  Master shall have the authority specified in Rule 53(c) with respect to those disputes and matters.

          1.       The Honorable James Orenstein (Ret.) of 620 Eighth Avenue 34th Floor, New

  York, NY 10018, is appointed Special Master to resolve any disputes or matters arising out of or

  relating to the Plan of Administration, including the proper scope of a requested exclusion from

  the Rule 23(b)(3) Settlement Class and the resolution of claims made to the Net Cash Settlement

  Fund as well as any other matters the Court refers to the Special Master. The Special Master is

  directed to proceed with all reasonable diligence to complete the tasks assigned by this order.

          2.       Subject to the procedures set forth herein, the Special Master shall have discretion

  to determine the appropriate procedures for resolution of all matters within his or her



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            Capitalized terms are the same as they were defined in the Superseding and Amended
  Definitive Class Settlement Agreement (“Settlement Agreement”), Docket Entry No. 7257.
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  appointment and shall have the authority to take all appropriate measures to perform the assigned

  duties.

            3.   Matters arising out of or relating to the Settlement Agreement’s Plan of

  Administration and its claims process shall be raised in the first instance with the Class

  Administrator, except for any specific matter the Court directly refers to the Special Master. The

  Class Administrator may address the matter or refer it to the Special Master for resolution. If the

  Class Administrator addresses the matter, any interested party may appeal the Class

  Administrator’s resolution to the Special Master. That party shall provide the Special Master

  with an application describing the nature of the dispute, a suggested resolution, and basis for that

  resolution. Any party that wishes to respond to the application shall have fifteen business days

  to submit its opposition papers to the Special Master. The party making the application shall

  thereafter have five business days to submit reply papers to the Special Master. Reasonable

  adjustments to the briefing schedule for a dispute may be made by the Special Master. All

  submissions to the Special Master shall be served on any interested party and Rule 23(b)(3)

  Class Counsel, who shall promptly provide such submissions to counsel for the Defendants. The

  Special Master may seek assistance from the Settling Parties as he or she may consider to be

  helpful to the Special Master in resolving any such disputes. The Settling Parties are authorized

  to provide any such requested assistance.

            4.   Prior to receiving evidence on disputed matters, the Special Master will develop

  procedures for filing materials under seal and taking other measures to protect confidentiality

  and the identity of claimants as appropriate. Unless otherwise directed by the Court, the Special

  Master’s report and recommendation on each matter shall be filed on (1) a master miscellaneous

  docket established for the Special Master to file his reports and recommendations and for the




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  Court to file its decisions on the reports and recommendations, (e.g., In re MDL 1720 damages

  class settlement disputes, No. 24-MC-XXXX, (E.D.N.Y.)), and (2) a dispute-specific

  miscellaneous docket (e.g., In re MDL 1720 damages class settlement dispute no. [X], No. 24-

  MC-XXXX (E.D.N.Y.)), established by the Clerk of Court upon the Clerk of Court’s receipt of

  the Special Master’s report and recommendation, and served on any affected parties no later than

  30 days after the reply papers have been received by the Special Master. Any interested party

  shall have 21 days, following the filing and service, to file objections to the Special Master’s

  report and recommendation with the Court on the dispute-specific miscellaneous docket; any

  responses to objections may be filed within 21 days thereafter. No replies regarding objections

  shall be permitted unless they are authorized by the Court. If any party objects to the report and

  recommendation, the evidence considered by the Special Master in making or recommending

  any findings of fact shall be filed on the dispute-specific miscellaneous docket. Such evidence

  may be filed under seal to protect confidentiality and the identities of claimants, as appropriate.

  The Court shall review the Special Master’s reports and recommendations de novo.

         5.      The Special Master is permitted to have ex parte contact with the Court. The

  Special Master is permitted to have ex parte contact with parties involved in any dispute

  (including Rule 23(b)(3) Class Counsel), if the parties to the dispute approve those ex parte

  contacts. Such ex parte communications shall not be deemed to waive any attorney-client or

  other privileges. The Special Master shall proceed with all reasonable diligence.

         6.      The Special Master must preserve all materials considered in making its

  determinations, and upon completion of a ruling by the Special Master, the Special Master shall

  file the report and recommendation on the master miscellaneous docket and with the Clerk of

  Court for creation of a dispute-specific miscellaneous docket. The record of the evidence




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  considered by the Special Master in making or recommending findings of fact must be preserved

  in the event that any party objects to the report and recommendation.

         7.      The Special Master is to be paid his reasonable hourly rate. The Special Master

  shall periodically submit to the Court for approval normal billing records of time spent and

  expenses, with reasonably detailed descriptions of activities and matters worked on. The Special

  Master’s fees and expenses in connection with resolving disputes shall be paid out of the Class

  Settlement Cash Escrow Account.

         8.      The Special Master’s appointment shall be for a period of two years, with the

  option of renewal.

  Dated: September 3, 2024
         Brooklyn, New York


                                                       SO ORDERED:



                                                            s/ MKB
                                                       MARGO K. BRODIE
                                                       United States District Judge




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